         Case 20-15335          Doc 56      Filed 05/28/24 Entered 05/28/24 09:23:20                  Desc Main
                                              Document Page 1 of 3
                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION
In re: Anthony Johnson                                        )        Case no. 20-15335
                                                              )
                                                                       Chapter 13
                                                              )
                                             Debtor           )        Judge: Deborah L. Thorne
                                                              )

     Anthony Johnson                                                       VW LAW LLC
     59 Wingate Ct                                                         1755 Park St #200
     Oswego, IL 60543                                                      Naperville,IL 60563


                                                  NOTICE OF MOTION




       Please take notice that on Thursday, June 13, 2024 at 9:30 am, a representative of this office shall appear
       before the Honorable Judge Deborah L. Thorne, or any judge sitting in that judge 's place, either in Courtroom
       682 of the Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn St., Chicago, IL 60604 or
       electronically as described below and present the Trustee 's motion a copy of which is attached.

       Important: Only parties and their counsel may appear for presentment of the motion electronically
       using Zoom for Government. All others must appear in person.

       To appear by Zoom using the internet, use this link: https//www.zoomgov.com/join. Then enter the
       meeting ID.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
       Then enter the meeting ID.

       Meeting ID. The meeting ID for this hearing is 160 9362 1728. The meeting ID can also be found on the
       judge's page on the court's web site.

       If you object to this motion and want it called on the presentment date above, you must file a Notice of
       Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the
       motion will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the
       motion without a hearing.




                                                                     /s/ Gerald Mylander
       Glenn Stearns, Chapter 13 Trustee
                                                                     For: Glenn Stearns, Trustee
       801 Warrenville Road, Suite 650
       Lisle, IL 60532-4350
       Ph: (630) 981-3888
         Case 20-15335           Doc 56    Filed 05/28/24 Entered 05/28/24 09:23:20                Desc Main
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                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION
In re: Anthony Johnson                                      )        Case no. 20-15335
                                                            )
                                                                     Chapter 13
                                                            )
                                            Debtor          )        Judge: Deborah L. Thorne
                                                            )




                                            CERTIFICATE OF SERVICE


          I, Benjamin Ruggles,

               an attorney, certify

                       or

           X   a non-attorney, declare under penalty of perjury under the laws of the United States of America

          that I served a copy of this notice and the attached motion on each entity shown below at the address
          shown and by the method indicated on May 28, 2024 at 5:00p.m. .



           VW LAW LLC                                           via CM/ECF
           1755 Park St #200
           Naperville,IL 60563




           Anthony Johnson                                      U.S. mail
           59 Wingate Ct
           Oswego, IL 60543




                                                                     /s/ Benjamin Ruggles
        Glenn Stearns, Chapter 13 Trustee
                                                                     For: Glenn Stearns, Trustee
        801 Warrenville Road, Suite 650
        Lisle, IL 60532-4350
        Ph: (630) 981-3888
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In re: Anthony Johnson                                     )       Case no. 20-15335
                                                           )
                                                                   Chapter 13
                                                           )
                                           Debtor          )       Judge: Deborah L. Thorne
                                                           )



                         MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS



   Now comes Glenn Stearns, Chapter 13 Trustee, and requests dismissal of the above case pursuant to Section
   1307(c)(6), and in support thereof, states the following:

   1. The debtor filed a petition under the Bankruptcy Code on August 08, 2020.
   2. The debtor's plan was confirmed on November 06, 2020.
   3. Initial plan term: 60 Months.
   4. Months since petition filed: 45.
   5. Report date: May 28, 2024.


       A Summary of the debtor's plan follows:

       Monthly Payment:          $610.00                       Last Payment Received:        May 02, 2024

       Amount Paid:           $20,435.80                       Amount Delinquent:                $1,911.90



   WHEREFORE, the Trustee prays that this case be dismissed for material default by the debtor with respect to the
   term of a confirmed plan, pursuant to Section 1307 (c)(6).




                                                                   Respectfully Submitted;

     Glenn Stearns, Chapter 13 Trustee                             /s/ Gerald Mylander
     801 Warrenville Road, Suite 650                               For: Glenn Stearns, Trustee
     Lisle, IL 60532-4350
     Ph: (630) 981-3888
